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_) Niona Shou Sasa, es preset geeaae eae aati pnenaemmemmenpmammions
_ 5) Misco Y vssce Measnerm

) Nurse Supervisor Mary poet aici SSI

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ol De Cilck re 7
Ya) ApQN Cindy te October AT, 20S

eee Defendants

eee _ a Am MENDED Complaint
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_ a Lt) This is 4 42 WS.C 1993 and 42 US.6 (2162 amended complaint filed by

Dacmnainsal Platte FF, pco- Se. Such wet is being broag ht by a peisenec, making clacms,—
. and alleging that the de fadents hove violated the plaintitls Censhi sutioaa|

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proxicle reasonable accomodating or medieod care. Plaiati ff seeks jajunch ve

felWtef and Mesnary damages « Pier alse seeks iapnactive cele kr and damages

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- Ha) sduccsctietinan oS the comet is invoked pursuant fe AF USC F 34 3(o4 (3) $A

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i) Plank? Marcco A. NMichalsci, e+ OM +tiymes celevank Was jacaccerated and
Confined at Corrigan C3 , as an _ansentencecd detamnee, lotatect

of 7% Nerwich- New Leaden Teke, Uncatvcdle CTs aad as a Sentenced nmete
ot Cheshire CI howe af 900 High lone! Ave, Cheshire, CT CC4IO.»

2) Defendant Corcecti onal Managed Hee llh Care (omits hn a Subsidiary , aad sister
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tn Pagel reg fe Depact meat oF Correction . At alt mes rele vant, ubder_eomtrace

lwith @€T Dot peosided, tnadeg uate care forms Covrecttona/ Menagect Healt tare

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8) Deferclants Aidcon , Nucse Seneien ah arse Steve Suen ; Nurse Vanes. Yeasner foi

; (Nurse Sugenmsec_Mary, De. Ginek, and Apty Cindy, ace in feck employes
jof Corceetaemal. Managed Heel Cocg * but stakimed at Coreiqan. i ccs

1 4) Catpeellealf Manaced Heel/h Cave 45, being, Stared ta there tind édvidaes

fand ofhrciat capacthy — eee

_ 5) De ferdants Wedina, Jenaien, Swan, Meas nee, Mary 4 Criite er

s Cindy are oll bern Sued jan +hece Jed ae. Cajacetyy rc re eeeensieesea

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Facility :

2) Apeil 22,263 daring iotale Bie AVES hkrviewed by ilisckestiers

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Sccuatiielmeate 3) The medica D per smemel Was ecnpleyed la ideale pice yal ates | ee

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i ef Farmington we Mee Shefo_ of __Conpackiand See a

a cic t) COHC SH are in charge of presiding acepuets. tale DSi

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eS Rec 6 C Greigen tr Concluct tase evaluctions of incaming deda:nees =.

ee 1) Apel 22, Aes i Plein FE wes ecuitted thacelo papulatin a3 deemed

_ _ clecced by — CMHC medical perenne aca eats ape one eee

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i CmH ¢ medica [_steFE. a

| Case 3:15-cv-00571-VAB Document 27 Filed 12/04/15 Page 5 of 14

a) Plaintift was asked the Shernclarel (aan at the Acs easel oF

Medceaf Sha FE ane pretecel ,autherized aod cérculatect loy Cov rect vem a(

Menaged Heealth care cume ngs its einilor £6 S..

ic) On said date Celevank Neceto, Recs QQ, 203 the defendants J aptieassl
las js Sewrants, gents and or employees trained to act as mecca
pre fF essisnals worth Mandotor alo\igehi us fo chraaseribe; record and document

a [hacomeng. eletatnees qnedical hosters,

it) On said dete relevard hereto, Apciy 22,1013, Plainti¥l infecmed the _
| ipkecviewsng. CMHC nurse that he suFFered Severe pach vn. lost hands and yornts...

i 12) On core dete, placate ff inkemed CMHe nurde thet ne suffered cle forme as os a

| liscamferk , dete riermbion and Carpa\ “Tunnel Syndrome in beth hands 0

L 13) April 22, 2013 placati Fe (afecmed loterviewsias, nucse that no_ more than 6 C six) a
{imontS pricey he tnac undergone — Carpal tunnel velief Surgery, and ase §

| Scheduled te_pecieve Surgery _on the ogegesite hand (ett). oo

| 4) Plaintiff also made clear that he wes disable and anable fo use Wis

hands to_ pocticivete, in_doily achividy _ I

(5) CMH employees Mad Enowiedge that olaintrFf Was drsable,_ suffered a

hendicay? wich impaited hes ability. to. wet, ech aad ase hs bands.

to) Aware of platatc Fes. disaloc iby and inability fo have_preper use ef bes hands,
ldefendant$ déd net follow medical rebecrel protecel incoming detainees SuOferiag

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(FY Precak f despite defendarts incdequate failures te remedy the need fee a

Physicians 2eveluctron, weste Severc| requests fo medical.

Ix) Plainti$$ wrete requesks From Apert unt July deeking evaluation of

a physician foc Kes disability ,
1g) On oc abort July 2615, piaintik&l waS Seen by Nurse. Yeeane Messner.

20) On oc_aloent July QAD, plait Was sammened to sick call, fer the purpose

of exeminetion and. possible treotment tor arthcitis ane Revere cas pel

| tunnel Syndreme_, with Measaecs knawledge

lav) On oc abot August 2e\%, plaiot FL Uweste an administra TR ae

|| ___ Seeking, treatment

L 22) On ac aloomk Ochoa Joc 7 plaintFF was Seen by Nurse ee Dee,who tso
had knowledge. bat foaled to. adequately trect placate for dlebilctatiag. pair, pees ee

|143)“Pheangh October 2013 and November Aci plaintiff wrete medical several

lmece “7hmes address: ng his debilitating, cond tion.

24) Defedant _Narse Sennien, understanding the Knewleds¢ of plain tits oo
ailment alleged Saw plaintiff ner aber t Novembec 2612 , clas miag fo_place amas
paint On docters list.

arthritis, aad Coteal tunnel syndrome, _ a <slnnmcmaeneamamaas
| Case 3:15-cv-00571-VAB Document 27 Filed 12/04/15 Page 7 of 14

25) On oc alent Sonusny BOM, after Several mere cequeshs , the plant FE wes seen

by nurse Jane Doe, who claimed Plaiaff was never placed on doctors list,
and that She wenld place lim ca the (ist

Qe) On oe abnevet January Xo)4 } placatctl Filed aucther_administrattve remedy
Pe Seeking _ftedtess..

22) On or alent Febnary Ai, placct FF as directeel Aled ont a release of

_ medical jaformation te _vecify Ws claims of Claimed. ailments ,/njucy, anc
________|| __prececlure - __

i 3%) Defenclants, een posessiag previews and. present knowledge, facled to_adeguately aad
ee aaa eat hee Bppropcia te. decumats to Dr. Kardestaucec Gx) of i

th Fhe: Dy tek: Ortbopedee brmp i a ia

acl 2%) Plaiahtl Fed _ancthec admiacstrotive remedy oo oc_olacut March 26if, alleging __

_ Coots nniag Sfarleres fo provide a.ppropecate. end reasonable medrcal care

_ —— loc) Deforsbecedé -LDe—A neléAo Wea S_ exantnlag : physician _sherlly ater the filing

ot administrative Kemedy ON or abent _ Apeil eel.

te

ai) Defendant Andina knew, oc shen / have trowa p thet. after _exaraia LAG

es placah FFs hands pret plaintiPe —WwOS in Need! of serious medical Chen Ava,

| 22) Dehendent Andise allegedly Filed URC fo seeK& specialist for plainki FF

| ta feS pemS€ _ to the evoaluct ora. oF plata bts. heads 2

—-}- —_—__-_____-

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33) Deftecdant Andiag Knew, ©¢ Shonld rave tnewn yp Heat such debi (tating
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of ClacmtcFEs \iucag.-

thal it is policy of Cie to deny cetacnees Specialist medeca/ care,

|35) Delendant. Ancking,. despite his -2ve-luction Comarte Plautifl ty Fle and

Sign _dnether medical release form_te__ Norwich Orthepedic. Eremp-

] 36). Deteadant Andiao aS weir Lyiled to Rx, marl, 6c verify oc cetrieve the

33) Detendant- Radino despcte this knemledge , ancl Le cluce +0. verify eu ack,

2u) Defendant Andiac_ia conjunc bon with alleged Kha of ¢ URC, advised Pb cobeBC

__mechice| _clocfar_pecessacy. tes encoucage ¢ctcective elie? ta the placate LE. ee ee

Contr buttod —te_plaiatiffs maa tested tisk and failed to make a oe
- _anaclable to Pla istcFé that weuld thereby aust constant pAltly GABECES SEL yf
Lb harm, aad opthew deci te, ee _ -
3e) On er abet March Jelly Haccusla uly 2ol4., flsiaREF wes allesedl y placed.
7 |} ea she dectocs_ list agacn weth no phystcal_trect ment oma sein snc
_ |39) Defendant Nurse Sennien p AGRI On oe abort July 261d met with placnt£, oe
os = | this time tO panted by APRAL indy« re = eas
i 2 : Yo) Duccns Sach times of sduly Z61Y , Corrigan. ST i
i __ Supecusedl by. al Senced physician. ov trainees Sc pi
_fACE P|) - a a itp
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Plaza Ce 1 tampered with nia less all at its $a ppart of-
ot Vepedic Dane Biaa te provide hee ng property -

42.) On _av_ebenk Jet Doi 1 Pleinti ff Mop with Dre Glick, Up coe
(ies abe tla tins diagnesed Oertitly tovdition WAS feck’ ns Ereatmenl

and & Specieliss wes Hexdael.

|da) On OL. aboat duly dol, Defendant Gillick also theese tees
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bow. Se ful bo Such a debili baking téte.

wy) On eo about Phas ash Jolt , Mes Lf Mads ue Hair ad ministrative vemede
-|| complaiccd , alles,ing inadegueste and iasebficceat treakmant, eof the

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a Biscontacl, Pain, engl muscle dete ciorebine dutta lac & of aSe ot
|| hand 5.

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up) On oc _aloont January 20/5 _plaiate # temmitted fo the Lehing at o

gciewance, & Sought for redress, that was met by a meet befweea olefencdent
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Steve, Sosen and placati FE

49) Defendant Sheva Scud, Lud ctey Such tin we Felecia L operated Qs pnarsé aad Metical
Grievance caecdinatec ,whs knew oF Shaul) have Knawiq through Searels de
plaintFEs Chart, tho placatift suffered disabeh by and pace apie 5 Bee

treatment that was nat being ef Feral

6 ) Defenclant Suron made claims fo nst heiag wi fen postion to make decescaes

and that such olecisiemS Uure the} of his bass Mavee Su peri sac Mary

dant

51) Deters Mary ea_ur abet danuary ZOlS cut heared grievance Coceclana tar eee)
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is ia charge of Linal dapasition of gcievances and Sach persons Stendling he tue

femedy aad plaiatith Seelicg Sach cedecss of ecleguate seclecal care

52) Defendant Swan en ec abeut Senuccns 26(S-_adwised placakte of Coccecteral

Mena. eef Lieel4, Cares paiccies, whitch stand Strang ia hegard & fo act pesviding

emedlg—hor— pre tricl—detainees 3

52) Thereafter, the placoti€F has been Subjected +e stancands belew ret of

adequate medical care, Such being ayplied by vefusal oF medceal care uwwuere

cpp priate And ental of  freat meets

54) Aso result of the detendants' de liberate iad: Fherent behaviencS ane Cale,

tne platat Ct (S_sSabseched te debilitating discemfert aed pata, as welt

as Pecmonent damage

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55) Ao a fucther renult of the defendants! reckless and delivercte lack of
Caré as aforesarel tne plaint TF endured and wilt Continue te enduce
grec paia, Sufferias,, dis Fog urement » aad Arclenged ard permanent Aisalocletry

by nen- usage of his hands.

st) The plaintiffs jayacies weve and are comsed by defendants rectless aches,

CaUSiag TSK pvscla no pare benetif other thon sufference , and cruel anel
unusual frectrrant 5 each Said defendant through CMEC , throught ts staff,
agents Secvents and oc employees in one oc mare of Khe foilewing cespects
Vielates thy Conctitutional Rights cof the placokc Ft %
a) in tho it failed to use Me cace and SEM ordinarily use! by
hospitals in the State of Connecticut,
6) Lis to properly provide adequate treament ancl remedy the
plaintiFls Concditens
¢) Lnewins plainteffs discbilby p plercde ceasenclble system of
assitence to accomodate a standard of ordinary Ife }
>) Make accessible remedy for pre-trial detainees , medical Shandacds

Sufficiont te seert seetelisk when inne is (or Causes suflferanee

2 ocdenney lite i

57) Defendants fazlees to treat have caused lastiagy fecmanent effects om paiatith.

5s) On July 16, dS, the placatith, naw & Sentenced tomate» Met with APAM
rarbara hatrance at Walker CL, hecated ot [[53%. East St. Sant,

Sutfredd, CT 0¢0%0

54) On July do, Qos, NPRM Barbara batrunce Claimed o URC was mever fled
and thet She wonld fle it.

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bo) On hid AX, LAT Plaintiff aiet “ant. icin, One ot. inthe CT

end woes ceferced 40 an _ortvregedér Specie. lest.

le) On August 1% 2015, plaiate®l wos transherced to Cheshire CT, leccted af

Geo High lewd Ave Cheshire, CT O@uUlo

62) Ow September 5. 2o1s" plant tf wes iafecmed traftthe UAC wes aparoved
and he wis patting te meet With an _octhogelie specialist

63) On September AY Asis plaiatitt Again Sig aed a release dora do retrieve

Medetal pecercds Seon Norwich Ortho pectic Grama i De. Karele stuncoc

(ott) On Crleer Al, 201s plaiodr CF sas transported bo UConn Fox & Meetcns,

with Specialist

Gs ) On Octeber A\, Ac(s at UloMma ; He plaiattt uadecwent  egtensive

Nevve tect iAs i

Ge) On October 21, 201s at Uo, the specialist intormed platattt Haat

GS Woy A353 Seyere medfan nee damage (carasl funnel ) he aise Sufferee/

Severe damage to the Waar nerve, ane tha the extensive cetericroticon

was ja # rye } C

wz) On October 21, Acts” the Spectahst ¢ (So palace Pita placatE £ Hak

eMbaugh the neve Can be corcectel wif the pro per Gurgical procedires , He

Ais fqurement and deteciecation of muscle Mart is permanen te

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t Fe arageaphs |= 6} of Count ene are made paragraphs

_f- oF of count two

oy) Defendants. ingbilcby , recklessness , aS well as denial af treatment breached

va) Defendants fest hand. knewiedge that plaintcPE was Stricken ow! th a debitetating
escicasaneel ailment and Fefusal to_prewicle Cemedy for such Jajury tincluced Ae ______ He
| Cegnizalole connection. thet the defendants failed fo act
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the duty of the defendant te uphdd the Standards of. peewedens, medece! freatment.

© . _= DENIAL oF MEOICAL CARE Se

Parsgeaphs \-GF of Couol ane 00 naade pares col eee ner

7 \-G} oF Count three ee
- os) Detendents Failure te provide medica} services offer intake evsluctien ,and co

Sabi amen knowledge Hit plaiotFP wos unable to use his hearts lac to iayacy p Seargety,

_ nd bu tens dlefecmity arranged cicet clencal of mederal cure. naa a
wens (o 4) Afrer seven! sick ca meetings and doctec appoiatments_, the def ered antes

- Shel have enon thot plaintiffs _jna bikity to use is. hends and

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a pecceving was jaadeguata 5 - ee ee _ pein
|e) Despite Knowledge of the manifest resk of waiting for a specials, detendaaty

| idbailed: to male alternatives avaclable ts the plainktF, or _eny other procetare ee

thecelay auadiag Uunne cessary herers or injucte bx ea

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‘ OD fayunchive celief in compliance vw Ha de Disabi litres Net ane PAI cena

__Suigical procedures 10 coccect -Hae damage dene to the Ulnar ferve

tad Median nevus (carga) tunnel) , QS well as any physica! therayy ae

Needed! _post- procedure s

2) Compensatory damages oF $ |, 600, 000 » oo

z 4
3) End heps damages of Ly 260, GOO, 00

4) Any and all attacney , court filing ca aod cost of jncarceratio.

5) A Cequest ber Jory by clemoaned.

Besant do af U.S.C g 1446, LD declare under penalty

of Peryeey feat the hcegeing is true aad correct.

Yee Bhcidb

Marca _jA. (ichalst/4 te ASSvG/

Cheshire Ci

Jo Hg hlend Ave
Cheshire , CT 664

Pace (4

